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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION
                                 www.flmb.uscourts.gov

In re:                             )                        Case No. 6:18-bk-6821-CCJ
                                   )
DON KARL JURAVIN,                  )                        Chapter 7
                                   )
      Debtor.                      )
__________________________________ )

              DEBTOR’S MOTION TO CONVERT CASE TO CHAPTER 11

         The Debtor, DON KARL JURAVIN, by and through undersigned counsel, and

pursuant to 11 U.S.C. § 706(a) and Fed. R. Bankr. P. 1017(f), hereby files this Motion to

Convert to Chapter 11, and in support thereof further state as follows:

         1.     The Debtor filed a voluntary petition for relief under Chapter 7 of the

Bankruptcy Code on October 31, 2018 (the “Petition Date”).

         2.     The Debtor seeks entry of an Order by this Court converting this case from one

administered under Chapter 7 to one administered under Chapter 11 of the Bankruptcy Code.

         3.     Since the filing of the original petition, the Debtor has realized increased

household income, resulting in greater disposable income, and desires to propose, in good

faith, a plan to repay his debts and retain his property.

         4.     The right to conversion under Section 706(a) of the Bankruptcy Code is

presumptive and should be granted in the absence of extreme circumstances. In re: Marrama,

313 B.R. 525, 531 (B.A.P. 1st Cir. 2004).

         5.     The United States Supreme Court in Marrama v. Citizens Bank (In re

Marrama), 549 U.S. 365, 374 (2007), held that:



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                 The class of honest but unfortunate debtors who do possess an absolute
                 right to convert their cases from Chapter 7 to Chapter 13 includes the
                 vast majority of the hundreds of thousands of individuals who file
                 Chapter 7 petitions each year. Congress sought to give these individuals
                 the chance to repay their debts should they acquire the means to do so.

        6.       Most jurisdictions have held that the Marrama decision applies equally to

debtors seeking conversion to Chapter 11 and not just debtors seeking conversion to Chapter

13. In re Woodruff, 580 B.R. 291, 296 (Bankr. M.D. Ga. 2018). See also Levesque v. Shapiro

(In re Levesque), 473 B.R. 331, 339 (B.A.P. 9th Cir. 2012) (“[T]he language of § 706(a) applies

the same whether the chose chapter for conversion is chapter 11 or chapter 13.”); In re Miller,

496 B.R. 469, 476 (Bankr. E.D. Tenn. 2013) (apply Marrama where the debtor sough to

convert to Chapter 11).

        7.       The Debtor in this case must seek conversion to Chapter 11 rather than Chapter

13 because he does not qualify as a Chapter 13 debtor due to the jurisdictional limits set forth

in 11 U.S.C. § 109(e)1.

        8.       No significant or material prejudice will inure to the creditors as a result of the

conversion, and thus, the Debtor should be permitted an opportunity to have his case

administered under Chapter 11 of the Bankruptcy Code. See In re: Kuhn, 322 B.R. 377 (Bankr.

N.D. Ind. 2005). More significantly, the creditors will receive a greater benefit by the Debtor’s

conversion to Chapter 11, as the creditors would receive de minimis distributions in Chapter

7, but will receive their pro rata share of the Debtor’s projected disposable income in the

Chapter 11.




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  On the Petition Date, the Debtor owed $1,512,894.00 in secured debt , $111,000 in unsecured priority tax debts,
and $26,106,549.74 in unsecured debt.

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       9.      After a careful review of household income, there is disposable income which

would, under the totality of the circumstances, require Debtor to fund a Chapter 11 Plan.

       10.     The Debtor has not previously converted this bankruptcy case.

       WHEREFORE, the Debtor, DON KARL JURAVIN, respectfully requests this

Honorable Court enter an Order: (a) granting this Motion to Convert Case to Chapter 11; (b)

permitting the Debtor fourteen (14) days to file all amended schedules and statements; (c)

extending and/or reimposing the automatic stay imposed under 11 U.S.C. § 362 as to all

creditors; and (d) granting any such further relief this Court deems just and proper under the

circumstances.

                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the Debtors’ Motion to Convert

Case to Chapter 11 was served via the CM/ECF system and United States first class mail

postage prepaid, on all Parties-In-Interest on the attached Mailing Matrix, this 13th day of

September, 2019.

                                           __/s/ Aldo G. Bartolone, Jr._____
                                           ALDO G. BARTOLONE, JR.
                                           Florida Bar No. 173134
                                           BARTOLONE LAW, PLLC
                                           1030 N. Orange Ave., Suite 300
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                                              3
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Label Matrix for local noticing              Bella Collina Property Owner’s Associat        DCS Real Estate Investments, LLC
113A-6                                       c/o Becker & Poliakoff                         636 U.S. Hwhy One
Case 6:18-bk-06821-CCJ                       100 Whetstone Place                            Suite 100
Middle District of Florida                   Suite 302                                      North Palm Beach, FL 33408-4611
Orlando                                      Saint Augustine, FL 32086-5775
Fri Sep 13 11:58:10 EDT 2019
Mercedes-Benz Financial Services USA LLC     Anna Juravin                                   Bella Collina Property Owner’s Associat
c/o Ed Gezel                                 15118 Pendio Drive                             c/o William C Matthews, Esq.
Bk Servicing, LLC                            Montverde, FL 34756-3606                       Shutts & Bowen LLP
PO Box 131265                                                                               300 S. Orange Avenue, Suite 1600
Roseville, MN 55113-0011                                                                    Orlando, FL 32801-3382

Bella Collina Property Owners Assoc Inc.     Ben-Zvi Law Firm                               Carl H. Settlemyer, III, Esq.
c/o Aegis Community Mgmt Solutions, Inc.     23 Bar-Cochva                                  Federal Trade Commission
8390 Championsgate Blvd., Suite 304          Bnei-Brak, Israel                              600 Pennsylvania Avenue NW
Championsgate, FL 33896-8313                                                                Mail Drop CC-10528
                                                                                            Washington, DC 20580-0001

Citibank, N.A.                               Consumer Opinion Corp.                         DCS Real Estate Investments, LLC
701 East 60th Street North                   c/o Randazza Legal Group                       c/o David M. Landis, Esq.
Sioux Falls, SD 57104-0493                   2764 Lake Sahara Drive, Suite 109              PO Box 2854
                                             Las Vegas, NV 89117-3400                       Orlando, FL 32802-2854


Dr. Free                                     (p)FEDERAL TRADE COMMISSION                    Florida Department of Revenue
11 Walnut Street, #12350                     ASSOCIATE DIRECTOR                             Bankruptcy Unit
Green Cove Springs, FL 32043                 DIVISION OF ENFORCEMENT                        Post Office Box 6668
                                             600 PENNSYLVANIA AVE NW MAIL DROP NJ-2122      Tallahassee FL 32314-6668
                                             WASHINGTON DC 20580-0001

Internal Revenue Service                     Internal Revenue Service                       Julia Kalatusha
Centralized Insolvency Operation             Post Office Box 7346                           32 Borochov
Post Office Box 7346                         Philadelphia PA 19101-7346                     Tel Aviv, Israel
Philadelphia, PA 19101-7346


Juvarin, Inc.                                Karan Arora                                    Lake County Tax Collector
P. O. Box 560510                             12815 NW 45th Avenue                           Attn: Bob McKee
Montverde, FL 34756-0510                     Opa Locka, FL 33054-5100                       Post Office Box 327
                                                                                            Tavares FL 32778-0327


Mercedes-Benz Financial                      Mercedez-Benz Financial                        Must Cure Obesity Co.
P. O. Box 961                                PO Box 961                                     15118 Pendio Drive
Roanoke, TX 76262-0961                       Roanoke, TX 76262-0961                         Montverde, FL 34756-3606



Noam Ben Zvi                                 Opinion Corp.                                  PSR Developers, LLLP
10/93 Rishon Lezion Street                   c/o Randazza Legal Group                       3900 Centennial Drive
Petachtiachba, Israel                        2764 Lake Sahara Drive, Suite 109              Suite C
                                             Las Vegas, NV 89117-3400                       Midland, MI 48642-5996


Paul B. Spelman, Esq.                        Shay Zuckerman                                 United States Trustee - ORL7/13
Federal Trade Commission                     8 Babli Street                                 Office of the United States Trustee
600 Pennsylvania Avenue NW                   Tel Aviv, Israel                               George C Young Federal Building
Mail Drop CC-10528                                                                          400 West Washington Street, Suite 1100
Washington, DC 20580-0001                                                                   Orlando, FL 32801-2210
                               Case 6:18-bk-06821-KSJ                Doc 172       Filed 09/13/19         Page 5 of 5
Zuckerman & Co.                                        Aldo G Bartolone Jr                                  Dennis D Kennedy
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Don Karl Juravin                                       Hal Levenberg                                        Robert H Ewald
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Montverde, FL 34756-3606                               One Biscayne Tower                                   12472 Lake Underhill Road
                                                       2 S. Biscayne Boulevard, Suite 2690                  Suite 312
                                                       Miami, FL 33131-1815                                 Orlando, FL 32828-7144



                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Federal Trade Commission
600 Pennsylvania Avenue NW
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Washington, DC 20580




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


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Mailable recipients      35
Bypassed recipients       3
Total                    38
